     Case 2:07-cr-00027-RSM           Document 118        Filed 09/11/07       Page 1 of 1




 1                                                  Honorable Ricardo Martinez
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 6
                          UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 8
     UNITED STATES OF AMERICA,            )
 9                                        )                 NO. CR07-0027 RSM
                   Plaintiff,             )
10      v.                                )
                                          )                 ORDER GRANTING LEAVE
11   GRIFFIN, et al.....                  )                 TO WITHDRAW
     GREGORY KEVIN WHITE,                 )
12                                        )
                              Defendants. )
13   ____________________________________)
14          THIS MATTER having come before the Court upon the motion of James L.
15   Vonasch to withdraw from representation of Gregory White, one of the defendants herein;
16   and it is hereby
17          ORDERED that the motion is granted and Mr. Vonasch is ordered withdrawn
18   from the representation of Mr. White. It is requested that the staff at the Criminal Justice
19   Act office locate another attorney to represent Mr. White.
20                  DATED this 11 day of September, 2007.
21
22
23
                                                            A
                                                            RICARDO S. MARTINEZ
                                                            UNITED STATES DISTRICT
24   JUDGE Presented by:
     _/s/_James L. Vonasch__________
25    James L. Vonasch
       WSBA #2353
26    Attorney for Defendant White
27
                                                                      JAMES L. VONASCH
28                                                                         Attorney at Law
                                                                       200 Maynard Building
                                                                          119 First Avenue
     ORDER GRANTING LEAVE                                             Seattle, Washington 98104
     TO WITHDRAW (CR07-0027RSM)                                            (206) 682-1016
